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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                    WESTERN DIVISION

 DAVID KREBSBACH,

      Plaintiff,

 v.                                                CASE NO.:

 SNAP-ON CREDIT, LLC.,

      Defendant.
                                       /

                    COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW, Plaintiff, David Krebsbach, by and through the undersigned

counsel, and sues Defendant, SNAP-ON CREDIT, LLC., and in support thereof

respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227

et seq. (“TCPA”).

                                     INTRODUCTION

           1.      The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and to prevent abusive “robo-calls.”

           2.      “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

 (2012).

           3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

 at night; they force the sick and elderly out of bed; they hound us until we want to rip the

 telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably


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 intended to give telephone subscribers another option: telling the autodialers to simply

 stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

         4.        According     to   the   Federal   Communications    Commission     (FCC),

 “Unwanted calls are far and away the biggest consumer complaint to the FCC with over

 200,000 complaints each year – around 60 percent of all the complaints…Some private

 analysts estimate that U.S. consumers received approximately 2.4 billion robocalls per

 month        in   2016.”      https://www.fcc.gov/about-fcc/fcc-initiatives/fccs-push-combat-

 robocalls-spoofing.

                                 JURISDICTION AND VENUE


          5.       Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

          6.       Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States; and this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

         7.        The alleged violations described herein occurred in Shelby County,

 Tennessee. Accordingly, venue is appropriate with this Court under 28 U.S.C.

 §1391(b)(2), as it is the judicial district in which a substantial part of the events or

 omissions giving rise to this action occurred.


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                                  FACTUAL ALLEGATIONS

         8.        Plaintiff is a natural person, and citizen of the State of Tennessee, residing

 in the city of Memphis, Shelby County.

         9.        Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014).

         10.       Defendant is a corporation which was formed in Delaware with its

 principal place of business located at 950 Technology Way, Suite 301, Libertyville,

 Illinois 60048-5339 and which conducts business in the State of Tennessee.

         11.       Defendant called Plaintiff approximately fifty (50) times in an attempt to

 collect a debt.

         12.       Upon information and belief, some or all of the calls Defendant made to

 Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

 system” which has the capacity to store or produce telephone numbers to be called, using

 a random or sequential number generator (including but not limited to a predictive dialer)

 or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

 227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that his knew it was an

 autodialer because of the vast number of calls he received and because he heard a pause

 when he answered his phone before a voice came on the line from the defendant.

         13.       Plaintiff believes the calls were made using equipment which has the

 capacity to store numbers to be called and to dial such numbers automatically.




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        14.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number (901) ***-0659, and was the called party and recipient of Defendant’s calls.

        15.     Defendant placed an exorbitant number of automated calls and text

 messages to Plaintiff’s cellular telephone (901) ***-0659 in an attempt to collect on a

 consumer loan.

        16.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

 the calls were being initiated from, but not limited to, the following numbers: (847) 557-

 7412; (678) 464-1016; and (815) 404-9696; and when those numbers are dialed, an

 artificial voice answers and identifies the numbers as belonging to Defendant.

        17.     On several occasions over the last two (2) years, Plaintiff instructed

 Defendant’s agent(s) to stop calling his cellular telephone.

        18.     On or about August 2018, Plaintiff communicated with Defendant from

 his aforementioned cellular telephone number and instructed Defendant’s agent to cease

 calling and texting him.

        19.     Each subsequent call Defendant made to Plaintiff’s aforementioned

 cellular telephone was done so without the “express consent” of Plaintiff.

        20.     Each subsequent call Defendant made to Plaintiff’s aforementioned

 cellular telephone was knowing and willful.

        21.     Despite clearly and unequivocally revoking any consent Defendant may

 have believed they had to call Plaintiff on his cellular telephone, Defendant continues to

 place automated calls to Plaintiff.




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         22.    Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

 cellular telephone in this case.

         23.    Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

 telephone in this case, with no way for the consumer, or Defendant, to remove the

 number.

         24.    Defendant’s corporate policy is structured so as to continue to call

 individuals like Plaintiff, despite these individuals explaining to Defendant they do not

 wish to be called.

         25.    Defendant has numerous other federal lawsuits pending against them

 alleging similar violations as stated in this Complaint.

         26.    Defendant has numerous complaints against it across the country asserting

 that its automatic telephone dialing system continues to call despite being requested to

 stop.

         27.    Defendant has had numerous complaints against it from consumers across

 the country asking to not be called, however Defendant continues to call these

 individuals.

         28.    Defendant’s corporate policy provided no means for Plaintiff to have

 Plaintiff’s number removed from Defendant call list.

         29.    Defendant has a corporate policy to harass and abuse individuals despite

 actual knowledge the called parties do not wish to be called.



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         30.    Not one of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         31.    Defendant willfully and/or knowingly violated the TCPA with respect to

 Plaintiff.

         32.    From each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion

 upon his right of seclusion.

         33.    From each and every call without express consent placed by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of his cellular

 telephone line and cellular phone by unwelcome calls, making the phone unavailable for

 legitimate callers or outgoing calls while the phone was ringing from Defendant call.

         34.    From each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time.

 For calls he answered, the time he spent on the call was unnecessary as he repeatedly

 asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to

 unlock the phone and deal with missed call notifications and call logs that reflect the

 unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

 phone, which are designed to inform the user of important missed communications.

         35.    Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to the

 Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

 answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the



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 phone and deal with missed call notifications and call logs that reflected the unwanted

 calls. This also impaired the usefulness of these features of Plaintiff’s cellular phone,

 which are designed to inform the user of important missed communications.

         36.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell

 phone’s battery power.

         37.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone where a voice message was left which occupied space in Plaintiff’s

 phone or network.

         38.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely his

 cellular phone and his cellular phone services.

         39.     As a result of the calls described above, Plaintiff suffered an invasion of

 privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

 nervousness, embarrassment, distress and aggravation.

                                         COUNT I
                                  (Violation of the TCPA)

         40.     Plaintiff fully incorporates and realleges paragraphs 1 through 39 as if

 fully set forth herein.

         41.     Defendant willfully violated the TCPA with respect to Plaintiff,

 specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

 Plaintiff notified Defendant that Plaintiff wished for the calls to stop




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        42.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or prerecorded or artificial

 voice without Plaintiff’s prior express consent in violation of federal law, including 47

 U.S.C § 227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against Defendant for statutory damages, punitive damages, actual

 damages, treble damages, enjoinder from further violations of these parts and any other

 such relief the court may deem just and proper.

                                              Respectfully submitted,


                                              /s/Frank H. Kerney, III, Esquire
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